         Case 2:19-cv-10098-JTM-MBN Document 1 Filed 05/06/19 Page 1 of 5



                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF LOUISIANA

IN RE: TAXOTERE (DOCETAXEL)                                    :   MDL NO. 2740
PRODUCTS LIABILITY LITIGATION                                  :
                                                               :   SECTION “H” (5)
                                                               :   JUDGE MILAZZO
                                                               :   MAG. JUDGE NORTH
         ORA MCCLURE                                               ,    :
                                                               :   COMPLAINT & JURY DEMAND
         Plaintiff(s),                                         :
                                                               :   Civil Action No.: 2:19-cv-10098
vs.                                                            :
                                                               :
SANOFI U.S SERVICES, INC. et al.                               :
                                                      ,        :
                                                               :
         Defendant(s).                                         :
-------------------------------------------------------------- :


                 SHORT FORM COMPLAINT (Effective as of January 4, 2019)1

         Plaintiff(s) incorporate by reference the Amended Master Long Form Complaint and Jury

Demand filed in the above-referenced case on July 25, 2017. Pursuant to Pretrial Order No. 15,

this Short Form Complaint adopts allegations and encompasses claims as set forth in the Amended

Master Long Form Complaint against Defendant(s).

         Plaintiff(s) further allege as follows:

    1.      Plaintiff:

            ORA MCCLURE




1
         This version of the Short Form Complaint supersedes all prior versions of the form pursuant to
         Pretrial Order No. 73. This Court-approved version of the Short Form Complaint is available
         on the Court’s Taxotere webpage and through MDL Centrality.



                                                         1
     Case 2:19-cv-10098-JTM-MBN Document 1 Filed 05/06/19 Page 2 of 5



2.     Spousal Plaintiff or other party making loss of independent/secondary claim (i.e., loss

       of consortium):

            N/A

3.     Other type of Plaintiff and capacity (i.e., administrator, executor, guardian,

       conservator):

            N/A

4.     Current State of Residence: Michigan

5.     State in which Plaintiff(s) allege(s) injury:   Michigan

6.     Defendants (check all Defendants against whom a Complaint is made):

       a.         Taxotere Brand Name Defendants

                        A.     Sanofi US Services Inc. f/k/a Sanofi-Aventis U.S. Inc.

                        B.     Sanofi-Aventis U.S. LLC

       b.         Other Brand Name Drug Sponsors, Manufacturers, Distributors

                        A.     Sandoz Inc.

                        B.     Accord Healthcare, Inc.

                        C.     McKesson Corporation d/b/a McKesson Packaging

                        D.     Hospira Worldwide, LLC f/k/a Hospira Worldwide, Inc.

                        E.     Hospira, Inc.

                        F.     Sun Pharma Global FZE

                        G.     Sun Pharmaceutical Industries, Inc. f/k/a Caraco Pharmaceutical
                               Laboratories Ltd.
                        H.     Pfizer Inc.

                        I.     Actavis LLC f/k/a Actavis Inc.

                        J.     Actavis Pharma, Inc.




                                               2
     Case 2:19-cv-10098-JTM-MBN Document 1 Filed 05/06/19 Page 3 of 5



                       K.        Other:




7.     Basis for Jurisdiction:

                Diversity of Citizenship

                Other (any additional basis for jurisdiction must be pled in sufficient detail as
                required by the applicable Federal Rules of Civil Procedure):




8.     Venue:

       District Court and Division in which remand and trial is proper and where you might
       have otherwise filed this Short Form Complaint absent the direct filing Order entered by
       this Court:

                                           District of New Jersey



9.     Brand Product(s) used by Plaintiff (check applicable):

                A.     Taxotere

                B.     Docefrez

                C.     Docetaxel Injection

                D.     Docetaxel Injection Concentrate

                E.     Unknown

                F.     Other:




                                               3
      Case 2:19-cv-10098-JTM-MBN Document 1 Filed 05/06/19 Page 4 of 5



10.     First date and last date of use (or approximate date range, if specific dates are unknown)
        for Products identified in question 9:


            2013



11.     State in which Product(s) identified in question 9 was/were administered:


            Michigan




12.         Nature and extent of alleged injury (including duration, approximate date of onset
            (if known), and description of alleged injury):


                 Severe and personal injuries that are permanent and lasting in nature
                 including and economic and non-economic damages harms and losses,
             including, but not limited to: past and future medical expenses; psychological
              counseling and therapy expenses; past and future loss of earnings; past and
               future loss and impairment of earning capacity, permanent disfigurement,
                 including permanent alopecia; mental anguish; severe and debilitating
               emotional distress; increased risk of future harm; past, present and future
               physical and mental pain, suffering and discomfort; and past, present and
                     future loss and impairment of the quality and enjoyment of life.


13.         Counts in Master Complaint brought by Plaintiff(s):

                   Count I – Strict Products Liability - Failure to Warn
                   Count III – Negligence
                   Count IV – Negligent Misrepresentation
                   Count V – Fraudulent Misrepresentation
                   Count VI – Fraudulent Concealment
                   Count VII – Fraud and Deceit

                   Other: Plaintiff(s) may assert the additional theories and/or State Causes of
                   Action against Defendant(s) identified by selecting “Other” and setting forth
                   such claims below. If Plaintiff(s) includes additional theories of recovery, for
                   example, Redhibition under Louisiana law or state consumer protection
                   claims, the specific facts and allegations supporting additional theories must
                   be pleaded by Plaintiff in sufficient detail as required by the applicable Federal
                   Rules of Civil Procedure.


                                              4
      Case 2:19-cv-10098-JTM-MBN Document 1 Filed 05/06/19 Page 5 of 5




14.     Name of Attorney(s), Bar Number(s), Law Firm(s), Phone Number(s), Email Address(es)
        and Mailing Address(es) representing Plaintiff(s):

                                      By: /s/ J. Christopher Elliott
                                          /s/ J. Kyle Bachus
                                          /s/ Darin L. Schanker
                                          Bachus & Schanker, LLC
                                          J. Christopher Elliott CO Bar No. 41063
                                          J. Kyle Bachus CO Bar No. 24441
                                          Darin L. Schanker CO Bar No. 23881
                                          1899 Wynkoop Street, Suite 700
                                          Denver, CO 80202
                                          Telephone: (303) 893-9800
                                          FAX: (303) 893-9900
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                                          E-mail: kyle.bachus@coloardolaw.net
                                          Email: celliott@coloradolaw.net




                                           5
